
Mr. Justice Tuknee.
These cases come up on writs of error granted by the clerk of the criminal court.
The defendant below, plaintiff in error, was indicted and convicted of the crime of forgery in the criminal court sitting in and for the county of Adams, and sentenced to imprisonment in the penitentiary. He thereupon petitioned the clerk of that court to grant him a writ of error to this court, which was done, and bond and security taken as in case of appeals from the circuit courts in civil cases, in the penal sum of one hundred dollars, payable to the state, with a condition to prosecute his writ to effect, or in case of failure to do and satisfy the judgment of this court, together with all such damages, interest and costs, &amp;c.
We are of opinion that these cases must be stricken from the docket, inasmuch as the clerks of courts are not authorized to grant writs of error in criminal cases, and can only issue them on the fiat of a judge or court of competent jurisdiction, for the reasons given in the case of Tuomy v. The State, in case of an appeal in state cases.
The act of 1837, Howard and Hut. Code,p. 541, sec. 50, is considered as applying to civil cases only.
